 Case 3:13-cv-04079-M Document 1 Filed 10/09/13                   Page 1 of 9 PageID 1



                         UNITED STATES DISTRICT COURT
                      FOR THE NORTHERN DISTRICT OF TEXAS
                                DALLAS DIVISION


                                               )
MARY LOU FRANCO                                )
    Plaintiff,                                 )
                                               )
v.                                             ) Civil Action No. 3:13-cv-04079
                                               )
COMMERCIAL RECOVERY                            )
SYSTEMS, INC.                                  )
     Defendant,                                )
                                               )



COMPLAINT



                 I.      INTRODUCTION


1. This is an action for actual and statutory damages brought by plaintiff Mary Lou

Franco, an individual consumer, against Defendant’s violations of the law, including, but

not limited to violations of the Fair Debt Collection Practices Act, 15 U.S.C. § 1692 et

seq. (hereinafter ‘‘FDCPA’’) which prohibits debt collectors from engaging in abusive,

deceptive, and unfair practices; by this Defendant and its agents in their illegal efforts to

collect a consumer debt from Plaintiff.


                 II.     JURISDICTION


2. Jurisdiction of this court arises under 15 U.S.C. § 1692k(d), which states that such

actions may be brought and heard before, “[A]ny appropriate United States district court

without regard to the amount in controversy,” and also under 28 U.S.C. § 1331 and 1337.
 Case 3:13-cv-04079-M Document 1 Filed 10/09/13                   Page 2 of 9 PageID 2



3. Venue in this District is proper pursuant to 28 U.S.C. § 1391(b)(1) because the

Defendant resides here. Because Defendant transacts business here, personal jurisdiction

is established.



                  III.   PARTIES



4. Plaintiff, Mary Lou Franco (hereinafter “Plaintiff”) is a consumer, as that term is

defined by 15 U.S.C. § 1692a(3), as well as a natural person allegedly obligated to pay

any debt, residing in Sacramento County, in the state of California.



5. Defendant, Commercial Recovery Systems, Inc. is a collection agency and foreign

corporation engaged in the business of collecting debt in this state with its principal place

of business located in Dallas County, in the state of Texas.



6. Plaintiff is informed and believes, and thereon alleged, that Defendant uses

instrumentalities of interstate commerce or the mails in any business, the principal

purpose of which being the collection of debts. Defendant is engaged in the collection of

debts from consumers using the mail, electronic mail, facsimile, and telephone, and

regularly collects or attempts to collect, directly or indirectly, debts owed or due or

alleged to be owed or due another, being a ‘‘debt collector’’ as defined by the FDCPA,

15 U.S.C. § 1692a(6).
 Case 3:13-cv-04079-M Document 1 Filed 10/09/13                   Page 3 of 9 PageID 3



7. At all relevant times, Defendant acted through its duly authorized agents, employees,

officers, members, directors, heirs, successors, assigns, principals, trustees, sureties,

subrogees, representatives, and insurers.



                  IV.   FACTUAL ALLEGATIONS



8. Sometime before 2013, Plaintiff, Mary Lou Franco, allegedly incurred a financial

obligation that was primarily for personal, family, or household purposes and is therefore

a ‘debt’, as that term is defined by the FDCPA, 15 U.S.C. § 1692a(5).



9. Upon information and belief, at some point the alleged debt was consigned, placed or

otherwise transferred to Defendant for collection from Plaintiff Mary Lou Franco.



10. Upon information and belief, the debt that Defendant is attempting to collect on is an

alleged obligation of a consumer to pay money arising out of a transaction in which the

money, property, insurance or services which are the subject of the transaction are

primarily for personal, family, or household purposes, whether or not such obligation has

been reduced to judgment, as, again, defined by the FDCPA, 15 U.S.C. § 1692a(5).



11. Within one year prior to the filing of this complaint, around early July of 2013, in

oral conversation, Defendant was given reason to know that Plaintiff’s employer

prohibited calls for Plaintiff made to Plaintiff’s workplace, and that such calls

inconvenience Plaintiff. Defendant continued to call for Plaintiff at her workplace,
 Case 3:13-cv-04079-M Document 1 Filed 10/09/13                  Page 4 of 9 PageID 4



without her consent, and without the calls being for emergency purposes. This was an

egregious invasion of Plaintiff’s privacy by intrusion upon her seclusion. Defendant

went so far as to alert one of Plaintiff’s male co-workers to her alleged debt, without her

consent, in an attempt to collect a debt from Plaintiff. This conduct by Defendant was in

violation of the FDCPA, namely including, but not limited to, violations of 15 U.S.C. §§

1692c(a)(1), § 1692c(b), § 1692d, and § 1692f. These were “communication”(s), as

defined under 15 U.S.C. § 1692a(2).



12. As a result of the acts alleged above, Defendant caused Plaintiff to become very

upset because of the aggressive manner in which this alleged debt was collected by this

Defendant.



13. Plaintiff suffered actual damages as a result of these illegal collection

communications by this Defendant in the form of anger, anxiety, emotional distress,

frustration, embarrassment, humiliation, and upset, amongst other negative emotions.



14. Defendant’s illegal abusive collection communications as more fully described above

were the direct and proximate cause of emotional distress on the part of Plaintiff.
 Case 3:13-cv-04079-M Document 1 Filed 10/09/13                Page 5 of 9 PageID 5



                 V.     CAUSES OF ACTION


                              COUNT I
      VIOLATIONS OF THE FAIR DEBT COLLECTION PRACTICES ACT
                        15 U.S.C. § 1692 et seq.



15. Plaintiff Mary Lou Franco repeats, realleges, and incorporates by reference all of the

above paragraphs of this Complaint as though fully stated herein.



16. The foregoing acts and omissions of Defendant and its agents constitute numerous

and multiple violations of the FDCPA including, but not limited to, each and every one of

the provisions of the FDCPA, 15 U.S.C. § 1692 et seq., cited above, with respect to

Plaintiff.



17. As a result of the foregoing violations of the FDCPA, Defendant is liable to the

Plaintiff for actual damages pursuant to 15 U.S.C. § 1692k(a)(1), statutory damages in an

amount up to $1000.00 pursuant to 15 U.S.C. § 1692k(a)(2)(A), and reasonable costs and

attorney fees pursuant to 15 U.S.C. § 1692k(a)(3), from Defendant.



                                 COUNT II.
             INVASION OF PRIVACY BY INTRUSION UPON SECLUSION


18. Plaintiff Mary Lou Franco repeats, realleges, and incorporates by reference all of the

above paragraphs of this Complaint as though fully stated herein.
 Case 3:13-cv-04079-M Document 1 Filed 10/09/13                      Page 6 of 9 PageID 6



19. Congress explicitly recognized a consumer’s inherent right to privacy in collection

matters in passing the Fair Debt Collection Practices Act, when it stated as part of its

findings:

        Abusive debt collection practices contribute to the number of personal
        bankruptcies, to marital instability, to the loss of jobs, and to invasions of
        individual privacy.


15 U.S.C. § 1692(a) (emphasis added).



20. Congress further recognized a consumer’s right to privacy in financial data in

passing the Gramm Leech Bliley Act, which regulates the privacy of consumer financial

data for a broad range of “financial institutions” including debt collectors, albeit without

a private right of action, when it stated as part of its purposes:

        It is the policy of the Congress that each financial institution has an affirmative
        and continuing obligation to respect the privacy of its customers and to protect the
        security and confidentiality of those customers’ nonpublic personal information.


15 U.S.C. § 6801(a) (emphasis added).



21. Defendant and/or its agents intentionally and/or negligently interfered, physically or

otherwise, with the solitude, seclusion and/or private concerns or affairs of Plaintiff,

namely, by repeatedly and unlawfully attempting to collect a debt and thereby invaded

Plaintiff’s privacy.



22. Defendant also intentionally and/or negligently interfered, physically or otherwise,

with the solitude, seclusion and/or private concerns or affairs of the Plaintiff, namely, by
 Case 3:13-cv-04079-M Document 1 Filed 10/09/13                  Page 7 of 9 PageID 7



unlawfully and unfairly continuing to try to contact Plaintiff at her workplace, in

attempt(s) to try to collect on an alleged debt, after having already been given reason to

know that this inconvenienced Plaintiff and was prohibited by her employer, without

Plaintiff’s consent, and without the contact being for emergency purposes, and thereby

invaded Plaintiff’s right to privacy.



23. Defendant and its agents intentionally and/or negligently caused emotional harm to

Plaintiff by engaging in highly offensive conduct in the course of collecting this debt,

thereby invading and intruding upon Plaintiff’s right to privacy.



24. Plaintiff had a reasonable expectation of privacy in Plaintiff’s solitude, seclusion,

private concerns and affairs.



25. The conduct of this Defendant and its agents, in engaging in the above-described

illegal collection conduct against Plaintiff, resulted in multiple intrusions and invasions of

privacy by this Defendant which occurred in a way that would be highly offensive to a

reasonable person in that position.



26. Defendant’s acts as described above were done intentionally with the purpose of

coercing Plaintiff to pay the alleged debt.



27. As a result of such intrusions and invasions of privacy, Defendant is liable to

Plaintiff for actual damages in an amount to be determined at trial from Defendant.
 Case 3:13-cv-04079-M Document 1 Filed 10/09/13                  Page 8 of 9 PageID 8



                  VI.    PRAYER FOR RELIEF



WHEREFORE, Plaintiff Mary Lou Franco respectfully requests that judgment be

entered against Defendant for the following:



A. Actual damages from Defendant pursuant to 15 U.S.C. § 1692k(a)(1) for the

emotional distress suffered as a result of the intentional and/or negligent FDCPA

violations, and actual damages from Defendant for intentional and/or negligent invasions

of privacy; in amounts to be determined at trial and for Plaintiff.



B. Statutory damages of $1000.00 from Defendant pursuant to 15 U.S.C. §

1692k(a)(2)(A).



C. Costs and reasonable attorney fees from Defendant and for Plaintiff pursuant to 15

U.S.C. § 1692k(a)(3).



D. Punitive damages.



E. For such other and further relief as the Court may deem just and proper.
 Case 3:13-cv-04079-M Document 1 Filed 10/09/13    Page 9 of 9 PageID 9



Dated: October 9, 2013             RESPECTFULLY SUBMITTED,
                                    By: /s/ Kevin Crick
                                    Kevin Crick, Esq.
                                    BBO: 680950
                                    Consumer Rights Law Firm, PLLC
                                    231 Sutton Street, Suite 1A
                                    North Andover, Massachusetts 01845
                                    Phone: (978) 420-4747
                                    Fax: (978) 409-1846
                                    kevinc@consumerlawfirmcenter.com
                                    Attorney for Plaintiff
